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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


TELISA CLARK, et al.,

                       Plaintiffs,
                                                              Case. No.: 3:20-cv-00308-SDD-RLB
   v.

JOHN BEL EDWARDS, et al.,

                      Defendants.

POWER COALITION FOR EQUITY AND
JUSTICE, et al.,

                       Plaintiffs,
                                                              Case No.: 3:20-cv-00283-SDD-RLB
   v.

JOHN BEL EDWARDS, et al.,

                       Defendants.


                CLARK PLAINTIFFS’ MOTION TO AMEND JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 59, Plaintiffs Telisa Clark, Lakeshia Barnett,

Crescent City Media Group (“CCMG”), and League of Women Voters Louisiana (“LWVLA”)

(collectively, “Clark Plaintiffs”) respectfully move this Court to reconsider its decision to dismiss

their claims with prejudice. For the reasons set forth in the accompanying memorandum, the Clark

Plaintiffs do not seek reconsideration of the dismissal itself, but simply the Court’s decision to

dismiss the actions with prejudice.
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DATED this 25th day of June, 2020.      Respectfully submitted,

                                        /s/ Caren E. Short

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